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BURNETT

LAW FIRM

January 7, 2013

Teresa L. Deppner

District Clerk

The United States District Court

for the Southern District of West Virginia
P.O. Box 2546

Charleston, West Virginia 25329

Dear Ms. Deppner,
This letter is to advise you that our firm name, address phone number, facsimile, and

email address has changed from:

LAW OFFICES OF RILEY L. BURNETT, JR.
Suite 1600

440 Louisiana

Houston, TX 77002

713/757-1400

713/759-1217 (fax)
rburnett@triallawfirm.com

to:

BURNETT LAW FIRM
55 Waugh, Suite 803
Houston, TX 77007
832/413-4410
832/900-2120 (fax)
rburnett@rburnettlaw.com

Please change your records to reflect our new information and direct all future
correspondence to the new address and email address found above.

Should you have any questions, please do not hesitate to contact us.

Sincerely, ~~

Riley L. Burnett, Jr.

832.413.4410 phone | 832.900.2120 fax
55 Waugh Drive, Suite 803 | Houston, Texas 77007

www.rburnettlawcom
